               Case 19-24331-PDR            Doc 80     Filed 06/16/20       Page 1 of 24

Ralph L. Sanders                            19‐24331‐PGH                                 Delay Mr Johnson



Dear Honorable Judge Paul G. Hyman, Jr
UNITED STATES BANKRUPTCY COURT

United States Courthouse

299 E. Broward Blvd.

Courtroom: 301 / Chambers: Room 303

Fort Lauderdale, FL 33301




I am objecting to Mr. Johnson's request to quit in the middle of litigation until I have a replacement law

firm. (30 days?)


Background


The following is a Ralph Sanders issue only does not help pay have been Mr. Johnson's client in the past.

Mr. Johnson becomes accustomed to my depression. 11 meds for a number of years can be traced to

another legal Federal case 16‐cv‐63040 (see item …) I was the plaintiff, and my employer was the

defendant. In the case, in order to win, Temenos, Morgan Lewis and Bookies (MLB), and indirectly Bank

New York Mellon as Temenos Swiss exchange and SEC represented committed five counts on Fraud

upon the court in their motions for summary judgment, in addition, accused me of committing Fraud in

the Fort Lauderdale Bankruptcy court. Per my Bankruptcy attorney, Mr. Michael Johnson, and Mr.

Robert Bigge emails. They stated the Temenos/MLB statement is false. The five counts fraud upon the

Federal court is documented through video disposition and emails to MLB about the inaccuracies in

their motions. Being accused of Fraud has some nasty side effects even getting a job. One of the

recurring responses was that I was in bankruptcy, and the law firm was not certain how the payout

would occur. The recurring response occurred even recently with Law Firm of Merlin Law Group in Mary




Ralph L. Sanders                             CACE 19‐24331                                      Page 1 of 5
              Case 19-24331-PDR           Doc 80      Filed 06/16/20       Page 2 of 24

Ralph L. Sanders                           19‐24331‐PGH                                Delay Mr Johnson


2020. "Great case and your homeowner insurance company committed two breaches of contract which

I have five years" That does not help me now.




Regarding my denial of Mr. Johnson request to quit the case and dispute his negative view that the case

is winding down


   1. Bank New York Mellon/SLS is dual tracking the mortgage mediation and foreclosure. I had sent

       the letter from SLS/BNYM to Mr. Johnson since Mr. Johnson was not copied on the letter. My

       question to Mr. Johnson was about the amount SLS states that I am in arrears, $25,000 as a

       ground for foreclosure. That figure is considerably different than the figure present to the

       Bankruptcy court. Letter in the next email

   2. My homeowner's insurance policy due to possible condemnation. There would be monies for

       personal property that can pay what is owed. In the past, friends come and go, my/our home

       becomes more of a storage spot, and I use to go garage sales (when I had a car). Per other

       lawyers, if BNYM/SLS attempts to pull the case, a good lawyer can contest based on the

       insurance claim and other factors. Mr. Johnson's response was one. Ask the client (me) how Mr.

       Johnson does something in bankruptcy court. 2. Turn the responses in Avvo into negatives

       response. I called Attny Timothy S. Kingcade office is a Yes to both of my questions., can BNYM

       request to pull the asset out from chapter 13 protection, and yes, can the debtor contest BNYM,

       Mr. Johnson could have asked his peers and/or called Attny Kingcade office.

       https://www.miamibankruptcy.com/

   3. There have been meetings where I have informed that I did not need to attend. There was the

       recent scheduled meeting with Trustee Robin Weiner. She would have gotten an earful from me

       about how being in bankruptcy is working against me (venting)


Ralph L. Sanders                            CACE 19‐24331                                     Page 2 of 5
                Case 19-24331-PDR          Doc 80      Filed 06/16/20    Page 3 of 24

Ralph L. Sanders                            19‐24331‐PGH                             Delay Mr Johnson


   4. Another item, which Mr. Johnson did not grasp the concept of, as I am almost part of the

       Hernandez et al vs. Wells Fargo nationwide class action of breach of contract_wrongful

       foreclosure.

           a. My mortgage was with Wells Fargo

           b. When we fell behind in payments due to wife cancer, pay cuts, and other issues. WF

                notified us they (WF) were going to file a foreclosure

           c. WF before filing the foreclosure signed the mortgage to BNYM, but WF still operated as

                BNYM agent

           d. WF approved us for HAMP using their faulty software

           e. Three payment made

           f.   WF denied us for permanent mortgage modification with no reason or 2nd guess reasons

                that were not valid (Attny Treeps)

           g. 2019. Get a sorry for software mess letter from WF

           h. I had to go pro se to file an appeal on my foreclosure. Johnson was aware

   5. When Merlin Law group stated that I had a great case, but because of bankruptcy and

       foreclosure, they turned down. After ½‐hour of venting, I called SLS and explained what had

       happened and why. I.e., our mutual assets have issues, and I need legal help. SLS referred me to

       their National Bankruptcy Service. I explained what had happened (denial by law firm due to

       bankruptcy), and it was not the first time. They advise me to send a packet to the SLS Customer

       Escalation department. I send the packet by USPS and email.

       BNYM/SLS response was to send a letter dated June 1, 2020, that we are foreclosing on you. The

       MMM was scheduled for June 4, 2020. HELP

       There are other issues/' missteps' on MR. Johnson part, but…




Ralph L. Sanders                             CACE 19‐24331                                  Page 3 of 5
              Case 19-24331-PDR            Doc 80      Filed 06/16/20      Page 4 of 24

Ralph L. Sanders                           19‐24331‐PGH                                 Delay Mr Johnson


           I have no issue with Mr. Johnson quitting my case. Back in April 2020, I had talked and

       emailed the Loan Lawyers Group about replacing Mr. Johnson due to my case(s) were more of a

       challenge. Attny Laura Hoy called me and advised me to stay with Mr. Johnson due to Trustees

       do not like it when clients change lawyers. https://www.fight13.com/attorneys/laura‐hoy/



       1. My Bankruptcy Case is about Ralph Sanders staying in his home

       2. The class action of a 5th Amendment violation involving Inverse Condemnation that I am

           starting involves 13‐16 out 19 homeowners. Law Firm I had talked with and emailed is

           Merlin Law Group. https://www.merlinlawgroup.com/loss/inverse‐condemnation/ Great

           case but See separate writeup sent to the Miami Herald newspaper for investigation

       3. Class action regarding how many other people have been foreclosed on by the clean hands'

           banks due to their agent, Wells Fargo action. How to find the case, County records would

           reflect which mortgages have the "Wells Fargo assign …" and within a year, the clean hands'

           bank files foreclosure with the amount owed is greater than one year of mortgage

           payments. Then comes the leg work to determine if WF had offered Hamp and later denied

           the HAMP



           I can't help with items 2 & 3 if I don't have anyone watching my back, i.e., for the

           Bankruptcy/Foreclosure cases.



       I am asking the following from the court

       1. I am requesting the court to deny Attorney Michael Johnson's request to resign from my

           case due to the actions and letter from Bank New York Mellon being on a dual‐track dated

           June 2020.


Ralph L. Sanders                            CACE 19‐24331                                         Page 4 of 5
               Case 19-24331-PDR          Doc 80      Filed 06/16/20      Page 5 of 24

Ralph L. Sanders                           19‐24331‐PGH                               Delay Mr Johnson


        2. I am requesting Mr. Johnson to eliminate the wording in his request, where he states the

            case is winding down. That sounds negative to any potential law firm to represent me

        3. I am requesting that Mr. Johnson assist in the finding of a replacement law firm.

        4. I am looking for any help/guidance the court may have to offer about how do I counter the

            statement (I am in bankruptcy) the law firms use that deny my non‐bankruptcy legal cases

            (homeowner Insurance, consumer protection act, etc.…) Maybe I get the other law firms

            back


https://www.avvo.com/legal‐answers/authorized/bankruptcy‐chapter‐13‐‐can‐creditor‐pull‐asset‐out‐

4895893.html?answer_id=9992973#answer_9992973




Respectfully


Ralph. L. Sanders


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Plantation, Fl. 33317


954.247.1557 Home


754.801.7097 Cell Phone


2nd home Broward County Law Library with FREE West Law/Lexis




Ralph L. Sanders                            CACE 19‐24331                                      Page 5 of 5
             Case 19-24331-PDR          Doc 80    Filed 06/16/20     Page 6 of 24




                     Inverse Condemnation By the City of Plantation



I have an issue, Inverse Condemnation, due to the actions by the City of Plantation

Utilities Depart and indirectly by the Old Plantation Water Control District (OPWCD)

https://www.opwcd.org/ .

I live by a 20 foot waterway where the private property line includes to the middle of the

canal. (10 feet) See the attached from Broward county records and OPWCD letter.

Every house along the OPWCD waterways property line extends to the middle of the

waterway and is considered private property.The 20 feet of waterway has a drainage

easement. In 2001, a area of the City of Plantation, named Plantation Isles, asked the

City of Plantation to clean the muck from the waterway. The City said, no, due to the

land in the private canal property of the homeowner. https://www.sun‐

sentinel.com/news/fl‐xpm‐2001‐04‐26‐0104260166‐story.html there are other articles leading

up to the meeting.

My property along the waterway, actual land, not the water, is shrinking. The waterline

is getting closer to the house. When I first moved into my home in 2004, it was not an

issue. After the hurricane, Wilma, when I had lots of City building and zoning inspectors

around the house checking on the repairs to my house, no issues brought up about the

distance my home to the waterway. The repairs were done from 2006 to 2007.

Recently I have noticed it is gotten worse this past year. The building code that was an

effect when my house was built stated fat my house should be 25 feet away from the

water. I checked with the City of Plantation stated that variances were issued to bring

the property distance variance to 15 to 20 feet away from the water. I am 10 feet away


                       Ralph L. Sanders Ralph.L.Sanders@gmail.com Page 1 of 7
             Case 19-24331-PDR        Doc 80    Filed 06/16/20     Page 7 of 24




from the waterway. That area shows the house that is close to water is the master

bedroom and bathroom depending on how you measure the whole master bedroom

bathroom would have to be eliminated or maybe about two feet left.

Please, this is not a one-off issue. I saw about 10 other homes that were too close to

the waterway on my short waterway that connects with other waterways.

I was going crazy trying to figure out how this could occur. I got in contact with the

OPWCD about what I am on tidal waterway or non-tidal. According to the email from the

OPWCD, I am not on tidal waterway. There should be no movement of the water per

the OPWCD email. the canals, lakes and DUCK PONDS are designed for gravity flow of

the water to the State road 84 pumping system. OPWCD does not maintain the depth of

the canals; they just maintained the waterways for water hyacinth, mosquito spraying

but no dredging a muck. I thought maybe the muck had gotten so high (I measure 1-3

ft., higher when getting closer to Duck Pond) that the water level was up higher but

OPWCD just knows the water level always at one exact level during the dry season

and another level during the wet season, even without any meters in the water in this

area.. I started to look at how many other homes in this area, not within the 25ft 20 feet

or 15 feet away from the water. I found at least 10 houses within my 2-block radius. I

emailed the mayor's office to bring up the topic of issues with homes in my area. I just

stated that the topic was there are maybe 20+ homes that need to be rebuilt and asked

her assailant for an appointment. See attached email to Mayor Office Denied.



Side note I violated the Plantation Building code (1960 & current) with the house being

too close to the water.



                     Ralph L. Sanders Ralph.L.Sanders@gmail.com Page 2 of 7
             Case 19-24331-PDR         Doc 80    Filed 06/16/20     Page 8 of 24




I had posted in Adjuster central looking for a law firm with adjusters to take on

Universal Property and Casualty.

https://www.facebook.com/groups/184500188231180/permalink/3563796616968170/?comm

ent_id=3563952520285913




I looked at your website. Saw the section on "Inverse Contamination". Light bulb went

off (very dim)

There is a city of Plantation park, named "The Duck Pond" at the end of my two-block

long waterway. My waterway does connect with other canals, lakes, etc.… The Duck

Pond has a number of City of Plantation drainage pipes leading into the pond.

This neighborhood is special. We seem to have the only park in the City with homes on

the waterway with a Lift Station for the City of Plantation utilities to suck up the water in

the duck pond thereby creating a manmade tidal action that based on the end results,

the property and homes are not designed for.

Previously I was just looking at the houses to see who was closest to the water once I

realize it was the lift station was creating the damage. , I'm not the quickest that the lift

                      Ralph L. Sanders Ralph.L.Sanders@gmail.com Page 3 of 7
              Case 19-24331-PDR         Doc 80     Filed 06/16/20     Page 9 of 24




station was creating a manmade tide or, in this case, City made tidal action which is

causing damage to not only my home but the other homes in my area . I went canoeing

on the waterway and took photos of all the homes back or side yards on the waterway.

The tidal action a very long crevice in the banks of many of the homes, some cases

collapsed the sea walls or has eaten away the earth so much there are trees down in a

Waterway not small trees but trees that have been there for some time. There are even

stumps in the waterway of trees that had to chainsaw down due to the unnatural

tide. About six large trees are in a position to collapse on the neighbors across the

waterway. Two of the trees are at a 45-degree angle due to the City of Plantation utility

engineering flaw.

Is the City of Plantation aware of the banks being eaten away? Yes. The reason I say

yes is due to the following reasons.

 1. The prior owner of 455 SW 60th ave, Plantation was cited by the City of Plantation

    for putting clay tiles in his waterway due to dry land was disappearing. They sold

    their home about a year later. I do not know why. They sold. His home is the last

    house before the duck pond and has some of the worse lose. Of land

    https://bcpa.net/RecInfo.asp?URL_Folio=504111070100

 2. The park is maintained on a regular bases, the trees in the park are now in violation of the

    City of plantation code of how close to plant (Google map vs. the photos I took Saturday

    (May 9, 2020)

 3. There are trees, benches missing from prior google map photos. I presume the city park

    would have information as to why the benches are no longer at the duck pond.

 4. Plus I think I got on the do not communicate list with the City (gut feeling)


                       Ralph L. Sanders Ralph.L.Sanders@gmail.com Page 4 of 7
              Case 19-24331-PDR       Doc 80     Filed 06/16/20    Page 10 of 24




Attached are the following items

       1 Email from old Plantation Water Management District about how the water

should flow

       2 Communication emails from the South Florida Water Management District

about the old plantation water weigh any amount of water at the old plantation

Waterway is pumping into North New River drainage one year they pumped to billion

gallons of water and the North New River. See attached spreadsheet and emails from

the South Florida Water Management District showing the pumping from OPWCD

       3. Email OPWCD all the canals and waterways design to gradually naturally

geographically flow into the North New River.

       4 Email from Broward County Government showing the canals and a property,

above and below water, are privately owned as part of the house map from Broward

County Government, showing the layout of this area. 1960.

       5. The lift station photos pumping station that is at the end of this waterway,

which has some major drainage pipes to it, and pumping capability going in both

directions. The waterways along here were not designed and built to take that. The

private lands as you get closer to the duck pond/city of Plantation utilities lift station gets

worse. My home when I had purchased it, was on X elevation. In 2014, per FEMA AH

elevation. FEMA new proposed elevation surveys home would become AE elevation

and my home needs to be rebuilt per GC's and other public adjusters. That is just due to

the roof, trusses, electrical, pumping etc... Issues




                      Ralph L. Sanders Ralph.L.Sanders@gmail.com Page 5 of 7
            Case 19-24331-PDR         Doc 80     Filed 06/16/20    Page 11 of 24




       6. My communication with the mayor's office asking to speak with her regarding

some homes that may need to be rebuilt but that was based on just a distance from the

water to the house

       7 surveys from when the house was first built I have to pick those up from

Plantation City Hall along with a couple of other homes surveys.

       8 I asked for a copy of the variances that were issued by the City of Plantation

about the distance from the water to the home. I got the third degree as to why do I

need copy of the variance, why should I have them (I did not bring up Freedom in

information) it was she was putting brakes on getting a copy of the variances. My

understanding is that the City is very liberal and giving out variances to homeowners,

but that is just second-hand information

       9. Photos of the various homes that have suffered damages due to the list

station unnatural title I have not asked for records on the lift station or anything related.

I am asking from the SFWMD the years of how much water was pump out into the NNR

by OPWCD from the City of Plantation using lift systems. There are 127 lifts in

Plantation per City of Plantation Water Management sewer system Department. Note

there are other city parks where there are homes near or on the same interconnected

waterway. I have been unable to find another city park that has a lift station as my

neighbors, and I have. It seems we are special.

       10. Google street view of another nearby City Park that has drainpipes but no Lift

stations




                      Ralph L. Sanders Ralph.L.Sanders@gmail.com Page 6 of 7
             Case 19-24331-PDR          Doc 80     Filed 06/16/20    Page 12 of 24




https://www.google.com/maps/@26.1133137,-

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axiXRkqTTpvkS42wjbHFw!2e0!7i16384!8i8192



Link to City of Plantation municipal code for wastewater.

https://library.municode.com/fl/plantation/codes/code_of_ordinances?nodeId=PTIICOO

R_CH26UT



HELP



Ralph L. Sanders

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Plantation, Fl. 33317

954.247.1557 home

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                        Ralph L. Sanders Ralph.L.Sanders@gmail.com Page 7 of 7
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@ !dDC$%                                                               h   
@ eB$EE!dDC$%                                                        h   
[ fC!                               ,'&M,'.)-('/ ?.0+g& ((.0
                                               +?S.01&.                                  h   J@
                                               16234OPQP9R79:S1T3 1 +1336U<?<
[ \CEC                               ,.2 ,0'(2.'0.(?.S (0&'(2
                                               ,-?.01,.+                                h   

@ fC!                                                                         h   X
@ fC!                                                                         h   I
@ fC!                                                                         h   [
0123       034567827Case
                    9 19-24331-PDR   Doc 80   Filed7
                                                   206/16/20
                                                    79 132 Page 16 of 24              73 134
 !"#$%&!'()%                                                           f    *
 $%&!'()%#'#+,,&-.&'                                                         f    /
 $%&!'()%#'#+,,&-.&'                                                         f    /
 0&.1                               2369 45279 12671
                                               16256789:;<:=>?@?A4 7B1 C968        f    D

 EF                                                                          f    D
 EF                                                                          f    
 EF                                                                          f    D
 EF                                                                          f    D
 EF                                                                          f    G
 EF                                                                          f    D
 EF                                                                          f    D
 0&.1#&F#H"'I#J,&-.&'              93K771L44396123 M9B3LN36O
                                               P                                      f    
                                               16256789:;<:=>?@?A4 7B1 C968
 0&.1#&F#H"'I#J,&-.&'              > MAC>QA2R@A2MSTCUK VW>
                                               16256789:;<:=>?@?A4 7B1 C968        f    P

 0&.1#&F#H"'I#J,&-.&'              61 45678293X361 C?Y162L1 O?W?1
                                               038947279 WZ7N724M94?POPDOPG1 P/   f    
                                               16256789:;<:=>?@?A4 7B1 C968
 [\]^.#_-.                           Y `WMM0A KaW>O?C?bA>QV
                                               WcYQSQVQAKQYM2W0                   f    P
                                               ATVWdWM V2S@WCQ2MASa
                                               V QMQRR>?@?AT
                                               VQ MC2>
P JF'(!'.e-#[\]^.-                                                            f    *
P JF'(!'.e-#[\]^.-                                                            f    *
P JF'(!'.e-#[\]^.-                                                            f    
P JF'(!'.e-#[\]^.-                                                            f    
P JF'(!'.e-#[\]^.-                                                            f    D
P JF'(!'.e-#[\]^.-                                                            f    
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                     9 19-24331-PDR          Doc 80   Filed7
                                                           206/16/20
                                                            79 132 Page 17 of 24              73 134
  !"#$%&'()(!#                        03*3 1 2+0,-./9.0                 m    1
  !"#$%&'()(!#                        03*3 1 2+0,-./9.23                  m    4
  !"#$%&'()(!#                        03*3 1 2+0,-./9.253                 m    4
  !"#$%&'()(!#                        6789 :,;70,7                            m    
  !"#$%&'()(!#                        7;<,8/;.=4>?6@A:7, B
                                                       B :,76B: +;/8;/,7:+;/            m    4
                                                        B,/0B,//;.
  !"#$%&'()(!#                        6789 :,;70,7                            m    
  !"#$%&'()(!#                         ?7,,B,/0 ,06?6:1C            m    1
 DE!(E$!E$FGG H$IJG'E(K JJL
                                                       162MNOPQPRSTRU91V3 1 :1M36C.8.   m    4

1 WHH$X#!!(Y                             671=>=Z[N41\6\]]          m    
 WHH$L(Y$DE!(E                        A;70+:^6 @+A+8 +;/                      m    
 WHH$_H!(Y$DE!(E                        A;78;/+/6 /8,;A7+@                   m    
4 DE!(E$EH$(#`a J(bK !(E
                                                       162MNOPQPRSTRU91V3 1 :1M36C.8.   m    ]

 cE!(K$E$d H(Y                                                                     m    
 XGJL                                       A61 e97 *f ][
                                                       162MNOPQPRSTRU91V3 1 :1M36C.8.   m    4

[[ DgEHag$($WGGE#(!(E                                                               m    4
[ WHH$h!!(Y                               /9 <==                           m    
[] cE!(K$E$d H(Y                                                                     m    
[] DE!(E$EH$iE!(a K                      ;A7+@
                                                       162MNOPQPRSTRU91V3 1 :1M36C.8.   m    

[ WHH$L(Y$DE!(E                        A;7 7+@:6BB 7j<60?B,/               m    
[[ WHH$h!!(Y                               /9 <[==                           m    
[ WHH                                       ;/<;+/:+6@ +;/;,k,/0
                                                       0 ,A;7A+@+/?:,7+/?;5<,8+;/:        m    
                                                       ;7;;:,07+@,k9+5+:
[] haGGJg!J$%&'()(!$l(#!                                                              m    4
0123       034567827Case
                    9 19-24331-PDR        Doc 80   Filed7
                                                        206/16/20
                                                         79 132 Page 18 of 24              73 134
  !"#$
                                                    162%&'()(*+,*-.1/3 1 01%361232   m 
  !"#$                                4567896459056354:; 7<50
                                                    :4790569:93 94605409946             m    
                                                    5=.9>90
                                                    162%&?@,A*-AB72C20D 7E1 3968
  !"#$                                4F 969::172C20GFF9 63472H01
                                                    79F5=.9>9F90                         m    I
                                                    162%&'()(*+,*-.1/3 1 01%361232
 J#"$!KL!"MNOP!"#$                        45=5600 5:47:9F96Q05796Q
                                                    4>C539460474405079F               m    
                                                    5=.9>90
 RSR                                    46C49609GF 94645=560
                                                    0 5:47:9F96Q05796Q4>C539460        m    
                                                    474405079F5=.9>900278D
                                                    279 7418869E3
IT J#"$!KL!"MNOP!"#$                        45=5600 5:47:9F96Q05796Q
                                                    4>C539460474405079F               m    
                                                    5=.9>90
                                                    162%&?@,A*-AB72C20D 7E1 3968
                                                    '()(*+,*-.1/3 1 01%361232
I LNMMOU$!POKV"!$WWKX"W!
                                                    162%&'()(*+,*-.1/3 1 01%361232   m    

IY Z#!"K#[KLR\"                                                                    m    
IY RSRK]P^"$_K̀#NR!Ka"OK̀#$bS$!"PO                                                n    
Ic J#"$!KdRefR"POKL!"MNOP!"#$
                                                    162%&?@,A*-AB72C20D 7E1 3968         m    YT
                                                    '()(*+,*-.1/3 1 01%361232
I Z#!"K#[KfP^"$_KgM#W"!"#$                 1 ;736:9436E3h3 34 1%1&
                                                    12i2DD42T1                       m    

I jWM#$WK!#KjkNW!K[#RKdR#SN !"#$                                                 m    
II ]#!"#$K"$KX"U"$
                                                    162%&'()(*+,*-.1/3 1 01%361232   m    T

II ]#!"#$K"$KX"U"$
                                                    162%&'()(*+,*-.1/3 1 01%361232   m    T

I ]U#RP$SNUK#[KXPl
                                                    162%&?@,A*-AB72C20D 7E1 3968        m    Y
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                     9 19-24331-PDR        Doc 80      Filed7
                                                            206/16/20
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  !"!#$%&                             '())*0 *+,)-*..*/0.+),102
                                                        3(1 .045' 1/ 625(56071*6           o    F
                                                        ' 6+(624 *6,,+**,6,
                                                        0()(60 68+/,*,6),1 1*.
                                                        +0// 19:003/(6
                                                        162;<=>?@AB@C15:5+D 7E1 4968
G  !"!#$%&!H IJ%                                                            o    
G  !"!#$%&!H IJ%                  (K'*7*60/7(1FL*6,,+**,6           o    F
G  !"!#$%&!H IJ%                  6,*4(,))*.*630(,+**,6
                                                        1 6+41*+,)-*..*/0.+),10*6         o    
                                                        ,,+**,6,0()(60 68+/,*,6
                                                        ),1
                                                         1*.+0// 19:003/(6
                                                        162;<=>?@AB@C15:5+D 7E1 4968
G  !"!#$%&!H IJ%                  261 45678249M:149 7D5N1236123
                                                        69E3OP362L1 :D;Q           o    R
                                                        162;<=>?@AB@C15:5+D 7E1 4968
G  !"!#$%&!H IJ%                  261 4567829M4143;+D 7E1 123 :D;
                                                        Q2                                   o    
                                                        162;<=>?@AB@C15:5+D 7E1 4968
G  !"!SII TUT%                          1 609454 10,V 2***2(+W
                                                        162;<XYZYA[?AB'1\3 1 +1;362545   o    

  !"!]T^%&!H IJ%                  316;7964                                 o    
  !"!]T^%&!H IJ%                  3 63+O72_24 24                      o    
  !"!]T^%&!H IJ%                                                            o    
  !"!]T^%&!H IJ%                                                            o    
  !"!]T^%&!H IJ%                  `O3 3 a316;79645D34 1;2DD42
                                                        R2b<85O                        o    

R  !"!c TU%&                                                                      o    
 d%!"U!eTUT$!fghhTUi!jgk&h %           60/(/,1 600/,). -*6
                                                        +0,1'(1(,)                           o    
                                                        162;<XYZYA[?AB'1\3 1 +1;362545
L  !"!#$%&!S%Jl UJ!!m%UU&TUJ                                              o    
L S&U k!nUk U                                  13167074594D639M(8362
                                                        -72344340123 F1 2M84            o    
                                                        +D883O3 21(8362-72344074594
                                                        630123 L
0123        034567827Case
                     9 19-24331-PDR            Doc 80   Filed7
                                                             206/16/20
                                                              79 132 Page 20 of 24              73 134
 !"#$ %                                                                         p    
 & '"(")%*'                                                                        p    
+ ,-'.-/%"("01$%"2!--                                                              p    
3 )/$$.4!."2!--"5-                     67689:;6<<0:<=>?<@86
                                                         162ABCDEFGHFI8JKJ<L 7M1 =968        p    3

N+ & '"(")%*'                                                                        p    
N & '"(")%*'"("O!%% P-                                                            p    
N & '"("QR!P",$ -!                     KLAS12T1JU                     p    3
NT & '"("V$$%!'                           W6> 9X:8Y?XY 8:;W:>0JJ<
                                                         =?Z=?@;<6>                                p    +
                                                         162AB[\]\G^EGHW1_3 1 <1A36SJ=J
N & '"(")%*'                                                                        p    
N ,-'.-/%"("01$%"2!--                                                              p    `
N & '"(")%*'"("O!%% P-                                                            p    
3 & '"(")%*'                                                                        p    
3 & '"("QR!P",$ -!                     a1U3 3 b?XK?8c6?=W6                   p    
3 & '"("QR!P",$ -!                     ?X; c 8=:                               p    
3 & '"("QR!P",$ -!                     9dK963295e3                            p    
3 & '"("QR!P",$ -!                     ?Xc>6;;=@;;:;cW Y
                                                         162ABCDEFGHFI8JKJ<L 7M1 =968        p    

`T & '"("!                                                                       p    
+ & '"("!                                                                       p    
+` )/f$ !",/'-"Q'/4"2gh",$ -!
           #/%!")%*                                                                         p    +

+ h%%"V$$ !!P"i /%"%                X8 ;j=J9 >j68                           p    
+ i.!%"i..kh%%")!P"Q%.             lZ3Z                                p    `
l & '"("m% /'!"n% 4"& !km%o                                                       p    T
0123       034567827Case
                    9 19-24331-PDR            Doc 80   Filed7
                                                            206/16/20
                                                             79 132 Page 21 of 24              73 134
 !"#$%$&'()'                           *964+,4272+279 9*59+ 43*9682*2-3
                                                         359+ 434-1,3.9438-163 53          m 
                                                        *, /00
 &'()'$1"'$23"#$"1$4"#3)                                                       m    
 5"6)$"1$5"#$7'8$9'!
                                                        162:/;<=>?@>ABCDCE+ 7F1 G968        m    

0H I)3"#3)$"$I)J)3$1"'$K(L33"#3                                                     m    0
0H I)3"#3)$"$I)J)3$1"'$M'"(6"#                                                     m    
NH I)J)3$1"'$K(L33"#3                                                                 m    H
NH I)J)3$1"'$M'"(6"#                                                                 m    H
H 5"6)$"1$4!#6) !"#                                                                  m    
HH 5"6)$"1$O)!'#P                            D+:QRHS/QT1CUCCBUN          m    
QNH V""#$"$4"L)$M'"(6"#
                                                        162:/WXYX?Z=?@[1\3 1 E1:36RCGC   m    0

0TH 5"6)$"1$4!#6) !"#                         38947279 9*]3 G+ 7-1U                m    
H 5"6)$"1$)'^#P$M'""3!$1"'$))L)#
                                                        162:/;<=>?@>ABCDCE+ 7F1 G968        m    

H 5"6)                                       _`a b`cBde dfG[ e]fRdfe0f0
                                                        0fEc]e c_e_`fd ca00BfEEfER            m    0
                                                          e0e_cGf_`f B eGf
                                                        162:/WXYX?Z=?@[1\3 1 E1:36RCGC
NH I)g5"6)$"1$9!h#P$i)"3"#               ]3 G+ 7-1UjD963295-3j 1
                                                        ]16571                                    m    

0T I)g5"6)$"1$9!h#P$i)"3"#               D963295-3j]3 G+ 7-1Uj 1
                                                        ]16571                                    m    

NT 5"6)$"1$9!h#P$i)"3"#                  D963295-3R 1]16571R]3
                                                        G+ 7-1U                                  m    

T I)g5"6)$"1$9!h#P$i)"3"#               0f__`] Bkl_BE                         m    
H0T I)g5"6)$"1$9!h#P$i)"3"#               ]16:l964                                 m    
TT 5"6)$"1$4!#6) !"#                        9*3899*]16:l964TTS/
                                                         d                                        m    

0T I)g5"6)$"1$9!h#P$i)"3"#               ]16:l964                                 m    
0123        034567827Case
                     9 19-24331-PDR         Doc 80   Filed7
                                                          206/16/20
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 !"#"$%&'"(!)'&*&"#"+,*%&'
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